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                            Exhibit
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  1                       UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
  2
                         CASE NO.: 1:24-cv-00779-JPH-MKK
  3
  4
         MAX MINDS, LLC,
  5
                     Plaintiff,
  6
         v.
  7
         TRIANGLE EXPERIENCE GROUP, INC.,
  8      ROBERT EDWARD CLARE, JEFFREY MASE,
         KEVIN G. MULLICAN and JOHN DOES 1-10,
  9
                     Defendants.
10       _____________________ /
11
12                                  Loudoun County, Virginia 20165
                                    Wednesday, 10:05 a.m. - 12:29 p.m.
13                                  February 19, 2025
14
15
16
17                                 CONFIDENTIAL
18
19               VIDEO CONFERENCE DEPOSITION OF NICK FERRARA
20
21              Taken on behalf of the Plaintiff before
22       SANDRA GOLDMAN FREDERICKS, Florida Professional
23       Reporter, Notary Public in and for the State of Florida
24       at Large, pursuant to Notice of Deposition of Nick
25       Ferrara in the above cause.

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  1      APPEARANCES VIA VIDEO CONFERENCE:
  2
           J. CAMPBELL MILLER, ESQUIRE
  3        JOEL B. ROTHMAN, ESQUIRE (Pro Hae Vice)
           SRIPLAW, P.A.
  4        21301 Powerline Road, Suite 100
           Boca Raton, Florida 33433
  5        Attorneys for Plaintiff
  6        RAIGHNE C. DELANEY, ESQUIRE
           BEAN, KINNEY & KORMAN, PC
  7        2311 Wilson Boulevard, Suite 500
           Arlington, Virginia 22201
  8        Attorney for Defendants
  9
         ALSO PRESENT:
10
11         Brandon Fischer
           Jordan Abisror
12
13
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14
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  1                           E X H I B I T s
  2
         PLAINTIFF'S
  3      NUMBER                 DESCRIPTION                                PAGE
  4
         Exhibit 1     Expert Report of Nick Ferrara                           5
  5
         Exhibit 2     Systems and software engineering -
  6                    Vocabulary                                              5
  7      Exhibit 3     Declaration of Janna Clare                             19
  8      Exhibit 4     Declaration of Robert Clare                            20
  9      Exhibit 5     Declaration of Kevin Mullican                          21
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  1      Thereupon:
  2                                  NICK FERRARA
  3      was called as a witness and, having been first duly
  4      sworn and responding, "I do," was examined and testified
  5      as follows:
  6                                  DIRECT EXAMINATION
  7      BY MR. ROTHMAN:
  8        Q.     Good morning, Mr. Ferrara.
  9        A.     Good morning.
10         Q.     Have you ever had your deposition taken before?
11         A.     I have.
12         Q.     How many times?
13         A.     About a dozen at this point, I think.
14         Q.     Okay.     Great.
15                I'm going to be asking you some questions.
16                Since you've had your deposition taken before,
17       have you had it taken remotely like this over Zoom?
18         A.     Probably half of those times at this point, I
19       think.
20         Q.     Great.     Okay.     So you probably know how to handle
21       this.
22                Just a reminder, let's try and talk -- not over
23       each other so that the court reporter can get my
24       questions and your answers clearly.                      All right?
25         A.     For sure.

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  1        Q.    And if there's anything you don't understand, let
  2      me know, and we'll repeat it or have it read back.
  3        A.    Will do.
  4        Q.    Great.
  5              So you have exhibits that we sent and they all
  6      have numbers beginning -- in the file names beginning
  7      with 001 and 002, et cetera, and I'd like to have you
  8      open Exhibit 1, which is entitled "Expert Report of Nick
  9      Ferrara", and Exhibit 2, which is a document called
10       "Systems and software engineering - Vocabulary".
11                   (Thereupon, the above-referred to documents were
12         premarked as Plaintiff's Exhibit Numbers 1 and 2,
13          respectively, for Identification.)
14       BY MR. ROTHMAN:
15         Q.    Let me know when you have -- if you have those
16       open.
17         A.    I have them both open.
18         Q.    Great.     Thank you.
19               So Exhibit 1, is this the expert report that you
20       prepared in the case we're here on today that is dated
21       January 31st, 2025?
22         A.    I'll double-check the date for you.               Just one
23       moment.
24               Yes, although it looks like some highlighting has
25       been added on a lot of the pages.

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  1        Q.    Yeah.    There might have been some highlights that
  2      I put in.
  3              Other than the highlights, does it appear to be
  4      the expert report that you submitted in this case?
  5        A.    I think so.
  6        Q.    Okay, great, and the signature at the bottom of
  7      page 26 is yours?
  8        A.    It is.
  9        Q.    Okay.    It's not indicated to be submitted under
10       penalty of perjury, but is everything contained in this
11       expert report, as far as you know, the truth based on
12       your personal knowledge?
13         A.    It is.
14         Q.    So we have your CV, which is attached, I'm going
15       to skip over that, and I'd like to start by going to the
16       Executive Summary on page 8 and I want to direct you to
17       paragraph 16, and in the first sentence of paragraph 16,
18       you say, "The record indicates that TEG worked jointly
19       with Max to complete technical work involved in
20       developing the Haptic Federal software."
21               MR. ROTHMAN:    Ms. Goldman, haptic is
22         h-a-p-t-i-c.
23               THE COURT REPORTER:       Thank you.
24       BY MR. ROTHMAN:
25         Q.    Do you see that, Mr. Ferrara?

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  1        A.    I do.

  2        Q.    Okay.    When you say "the record indicates", what
  3      are you referring to?
  4        A.    So the various materials that I have in my report
  5      is probably the easiest way to summarize that.
  6              You know, there are -- go ahead.                Sorry.
  7        Q.    No.     The -- so you mean Attachment 2 where you
  8      list materials that you relied upon in preparing your
  9      report?
10         A.    Let me look at Attachment 2 again.
11               In general, I think that's true.
12               In other words, all of those documents,
13       that's basically, I think, all the material that were
14       produced to me that I've considered in this case.
15         Q.    Okay.    Well, so but does Attachment 2 contain a
16       list of all the materials that you considered in
17       connection with preparing your expert report?
18         A.    I need to take a look.
19               In general, I think the answer is yes.
20               It is possible certainly there is some things
21       further cited in some of the footnotes in the report
22       that might have (inaudible) my attention.
23               In general, I try and cite the salient points in
24       footnotes and have sort of a comprehensive listing in
25       Attachment 2 of it should be everything, but I mean it's

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  1      certainly possible there's things in the footnotes that
  2      are relevant to that as well.
  3        Q.    Okay.   So when we're talking about "the record" in
  4      paragraph 16, you mean either documents that are listed
  5      in Attachment 2 or materials that are cited in footnotes
  6      to the report?
  7        A.    Yeah.   I mean I guess I'll clarify that for you.
  8        Q.    All right.
  9        A.    You know, when I'm talking about the record, I'm
10       talking about materials that have been produced in this
11       case.
12               Obviously there are other materials such as
13       publications or industry standards that I'm citing to as
14       well, but it's not really part of the record per se.
15       I'm really referring here to materials produced in the
16       case.
17         Q.    Okay, but for clarity, all the materials that were
18       produced in the case that you looked at and relied upon,
19       right, are listed either in Attachment 2 or is referred
20       to in footnotes; correct?
21         A.    In general, I think that's true.                It's certainly
22       possible there's, you know, stuff that just didn't make
23       it into Attachment 2, but as best as I can recall, I
24       think that's what's been produced to me.
25         Q.    How did you receive the materials that are listed

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  1      in Attachment 2; in other words, did you get sent a link
  2      to download them from someone or were you given access
  3      to a computer system or were you given paper copies?
  4      How did you get them?
  5        A.    It probably varies for the specific material.
  6              You know, I think some of this probably was
  7      documents that were e-mailed.            I would think some of it
  8      also was probably sent via some sort of file sharing
  9      site.       You know, I don't recall the specifics of the
 10      exact transmission medium that was used for each of
 11      these as I sit here at this moment.
 12        Q.    Okay.    We -- there's been documents that have been
 13      produced in the case by each side.
 14              Did you get to choose which documents you would
 15      look at or were they just all -- all the ones in
 16      Attachment 2 were just provided to you and without your
 17      ability to select which ones you wanted and which ones
 18      you didn't want?
 19        A.    Well, I mean I -- my general recollection is I was
 20      given, you know, here's a folder of documents or here's
 21      a set of documents, and I could just look at all of
 22      them.
 23        Q.    Got it, and who gave you those; do you remember
 24      the person?
 25        A.    No.


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  1        Q.    Was it an attorney working for the Bean Kinney
  2      firm?
  3        A.    I think that's right.          I couldn't tell you who
  4      specifically gave me these documents from, you know, six
  5      months ago.
  6        Q.    All right.     Do you remember when several          --

  7        A.    No.
  8        Q.    -- months ago is?
  9        A.    No.
 10        Q.    So looking back at your report, you say in the
 11      second sentence, "analysis of the parties' source code
 12      corroborates TEG's position that it provided key
 13      architectural designs that Max used in the development
 14      of the Haptic Federal software".
 15              Now, if you can turn to Attachment 2, can you
 16      identify for me what you're referring to on Attachment 2
 17      as the parties' source code that you did analysis of?
 18        A.    I'm sorry.     Attachment 2?
 19        Q.    Yes, Attachment 2.
 20        A.    Sorry.     I misheard Exhibit 2 for a moment there.
 21              Give me a moment to scroll down.
 22        Q.    Sorry.
 23        A.    No, no, I -- my bad.
 24              Sure.
 25              So this is the source code that's listed at the

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  1      top of page 1 on Attachment 2, the first section being
  2      "TEG Source Code Repository Data", which starts with
  3      repository named "aces" and goes down through depository
  4      named "VJOC-Client-main"
  5        Q.    Okay.
  6        A.    -- and the source code under the heading "Max
  7      Source Code Repository Data", which since there's just
  8      four of them, I'll just list them,
  9
 10      and I think all of those listed in the section under
 11      both "TEG Source Code Repository Data" and "Max Source
 12      Code Repository Data", those should all be source code
 13      repositories.
 14        Q.    Okay.   The ones listed under "Max Source Code
 15      Repository Data", the four items there that you read
 16      into the record, those you reviewed on the source code
 17      review computer that you examined at the offices of Bean
 18      Kinney; correct?
 19        A.    That's correct.
 20        Q.    Okay.   With respect to the ones above that under
 21      "TEG Source Code Repository Data", starting with "aces",
 22      how did you go about reviewing the source code
 23      repository for ACES?
 24        A.    Can you be more specific?
 25        Q.    Well, was it something where you were given files

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  1      that you downloaded and examined on your own computer or
  2      did you go to a facility to review it; how did it come
  3      about?
  4        A.     So I was provided with copies of the repositories
  5      for these files and used --
  6        Q.     Okay.
  7        A.     -- industry standard tools to be able to review
  8      and analyze the source code.
  9        Q.     Okay.   So you did all the analysis in your office,
 10      not at a remote location?
 11        A.     I think that's correct.
 12               I think this was all provided to me fairly early
 13      on before the parties sort of got into their dispute
 14      over the mechanism by which the source code was going to
 15      be produced.
 16               So I'd have to go back and check, but that's my
 17      recollection.
 18        Q.     Okay.   So with respect to ACES, what format was
 19      the repository in; was it in Git format or some other
 20      format?
 21        A.     Yeah, I'm pretty sure all of the repositories
 22      listed here are Git repositories.
 23               THE WITNESS:   And for the court reporter, Git
 24         is G-i-t.
 25      BY MR. ROTHMAN:

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  1        Q.    Okay.    All right, and do you recall -- now, when
  2      we talk about a repository, that's actually one of the
  3      definitions in Exhibit 2.
  4              So is it correct that in footnotes to your report,
  5      you refer in a number of places to the standard,
  6      "Systems and software engineering - Vocabulary", that's
  7      marked as Exhibit 2 for the definition of terms?
  8        A.    So just to make sure I understand your question
  9      would you repeat it?      I think there were a
 10      few (inaudible)
 11        Q.    Yeah.
 12        A.        that I'd like a little clarity, please.
 13        Q.    Is it true you refer throughout your report to
 14      definitions of terms contained in "Systems and software
 15      engineering - Vocabulary" marked as Exhibit 2?
 16        A.    Yes, that's correct, and just to be clear, I've
 17      also referred to that as ISO 24765.
 18              That's referenced back to the systems ISO
 19      international standard.
 20        Q.    Okay.    If I refer to Exhibit 2, you'll know what I
 21      mean though; right?
 22        A.    Sure.
 23        Q.    Great.
 24              So there is a definition in Exhibit 2 of
 25      repository, and it's 3.3415.

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  1              When you're using the term "repository", are you
  2      using that term as it's defined in Exhibit 2?
  3        A.    You'll have to give me a minute to review the
  4      definition.
  5        Q.    And there are actually bookmarks in the document I
  6      sent to many of the terms.            If you open the bookmarks
  7      panel, you might be able to get there a little quicker.
  8        A.    Actually you providing the -- oh, yeah, that's
  9      fair.       Okay.
 10              I was going to say, if you just give me the line
 11      item number like you did, 3.3415, that was perfectly
 12      fine too, and, in fact, I might ask you to do that.
 13              Repository is -- oh, no, it is listed out.
 14              Okay.       Let me just review the definition.           So give
 15      me a moment.
 16              I mean I would say insofar as these sort of more
 17      general definitions are consistent with a Git
 18      repository, which is a version control management
 19      program, and the technology used to store changes to
 20      source code over time, I would say that's consistent.
 21        Q.    Great.
 22              Now, it's my understanding that Git repositories
 23      will have information contained in them indicating, for
 24      example, a name or e-mail address of a person who
 25      submitted code into the repository.

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  1              Is that your understanding?
  2        A.    That's generally correct, yes.
  3        Q.    In the course of your analysis, did you examine
  4      the names or e-mail addresses of the people who were
  5      submitting code into the Git repositories listed at the
  6      top of Attachment 2 to your report?
  7        A.    I believe I did as part of my review of the code.
  8         Q.   Okay.   Did you make notes about that or keep a
  9      record of those names or e-mail addresses anywhere?
 10        A.    I don't think so, no.
 11        Q.    Okay.   It's my understanding also that when there
 12      is a submission or something called a commit to a Git
 13      repository, it will also indicate a date that -- or
 14      potentially multiple dates if the code is subsequently
 15      revised, that the code was submitted to the repository.
 16              Is that your understanding?
 17        A.    That's correct.
 18        Q.    Okay.   Did you take note and memorialize the dates
 19      for any of the commits in the repositories listed at the
 20      top of Attachment 2?
 21        A.    I would say yes to that.
 22        Q.    Okay, and where is that information; did you --
 23      'cause I don't see -- with respect to the "aces", which
 24      is the first repo (phonetic), did you keep notes as to
 25      dates of commit for that one?

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  1        A.    Give me one moment to check.            I might be able to
  2      point you to a specific footnote.
  3              So in general, I refer you to footnotes 18 through
  4      21 in which I refer to commits from particular TEG
  5      source code repositories, which are listed in quotes,
  6      and I provide both specific files at particular commits
  7      as well as dates for those commits.
  8              So, for example, in citing to this particular item
  9      in footnote 18, that's a TEG source code repository,
 10      double quotes,
 11
 12      unquote, and then parenthetically,             (June 12th, 2018), at
 13      a particular line with a parenthetical description after
 14      that describing --
 15        Q.    You're reading -- yeah, you're reading from
 16      footnote 18.
 17        A.    I am, and the point I'm trying to make is if you
 18      look, for example, midway through that first line, where
 19      it says "e4d4aa", that is the first six characters of a
 20      particular commit.
 21              That's a typical approach for identifying commits.
 22      They are listed commit and colon followed with the path,
 23      the particular file in the source code repository, and
 24      I've noted parenthetically the date of that particular
 25      commit.

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  1              Now, I will also note for full context, if you
  2      look further down at, for example, footnote 20, where I
  3      have "TEG source code repository                           , at --
  4      you know, I'm sorry.      That's actually a bad example.
  5              There may be one or two here where I've referred
  6      to the commits generally because there is something that
  7      is broader or might be a commit message, for example,
  8      that is specific to the entire commit rather than
  9      changes to a certain file.
 10              So it is typically listed in my footnotes where
 11      I'll just say, you know, at commit hash line and then
 12      the six characters of the start of the commit hash ID,
 13      and forgive me.     I don't know how technical you are.              If
 14      there's a concept or term I throw in there by reflex,
 15      let me know and I can explain it.
 16        Q.    I definitely will, but I am pretty technical, but
 17      if I have questions, I'll let you know.
 18              So but let me ask you, going back to the beginning
 19      of footnote 18, where you say, "see, for example, TEG
 20      source code repository" okay, which item are you
 21      referring to listed at the top of Attachment 2?
 22        A.    The transaction-manager repository.
 23        Q.    Okay.   I see.
 24              So item -- the fourth bullet down, --
 25        A.    Correct.

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  1        Q.    -- the                                ?
  2        A.    Correct.
  3        Q.    Okay, and whenever you refer to TEG source code
  4      repository, in the footnotes that follow, are you always
  5      referring to that transaction-manager item?
  6        A.    No.

  7        Q.    Okay.    So what is the transaction-manager; what
  8      can you tell me about that repository?
  9        A.    I would have to look back at each one of these to
 10      give you a better summary description.
 11              There are particular items I've cited to that are
 12      relevant here.
 13              That is, I recall, a back end component of the
 14      software as provided, --
 15        Q.    Yeah.
 16        A.    -- and I've cited the particular file's
 17      description, but I would have to go back and look at the
 18      source code to give you a full explanation.
 19        Q.    I got it.
 20        A.    In the repositories, there are README files which
 21      provide sometimes some summary indication.              Those are
 22      probably the easiest way to summarize their
 23      functionality, but I don't have those in front of me.
 24        Q.    Okay.    Did you create a file name listing of all
 25      of the files in the repositories listed at the top of

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  1      Attachment 2?
  2        A.    I don't think so.
  3        Q.    Okay.     Is that something that you could do?
  4        A.    As a technical matter, sure.
  5        Q.    We'll come back and we'll go through some more
  6      specifics about that in a moment.
  7              So if we go back to middle of page 8, paragraph
  8      16, you say that your analysis corroborates TEG's
  9      position that it provided key architectural designs.
 10              What do you mean by key architectural designs?
 11        A.    So for this, I would refer you to, I'll give you
 12      the exact citation, paragraphs 26 through 29 including
 13      29's subcomponents.
 14              These are fundamentally the organizational
 15      components that are at the heart of how the source code
 16      I analyzed operates.
 17        Q.    Got it.     Okay.
 18              So I want to ask some other questions about some
 19      other documents before we go further.
 20                  (Thereupon, the below-referred to document
 21        was premarked as Plaintiff's Exhibit Number 3 for
 22         Identification.)
 23      BY MR. ROTHMAN:
 24        Q.    So Exhibit 3 is a document called "Declaration of
 25      Janna Clare".

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  1              Did you review that document at all in preparation
  2      for your expert report?
  3        A.    I'm not sure.
  4              I know I had seen some of the papers and
  5      attachments that have been or some of the attachments
  6      that were included as exhibits to the parties' most
  7      recent motions.       I just don't recall if this is one of
  8      them offhand.
  9        Q.    Okay.     I'm asking specifically about the
 10      declaration part that begins the exhibit, not about any
 11      attachments.
 12        A.    No, I understand.
 13              I think this may have been an attachment to
 14      something that was recently provided.                 I just don't
 15      recall for sure.       It looks familiar, but I'm not
 16      positive.
 17                  (Thereupon, the below-referred to document
 18        was premarked as Plaintiff's Exhibit Number 4 for
 19         Identification.)
 20      BY MR. ROTHMAN:
 21        Q.    Okay.     What about the "Declaration of Robert
 22      Clare" that begins on the second page of Exhibit 4?
 23        A.    Exhibit 4, give me one moment.
 24              I'm not sure.
 25

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  1                  (Thereupon, the below-referred to document
  2        was premarked as Plaintiff's Exhibit Number 5 for
  3         Identification.)
  4      BY MR. ROTHMAN:
  5        Q.    Okay.     What about the "Declaration of Kevin
  6      Mullican" that -- in Exhibit 5, that begins Exhibit 5?
  7        A.    Give me one moment to review the document.
  8              I think the answer to that is yes.
  9        Q.    Okay.
 10        A.    I think I was provided with this fairly recently.
 11        Q.    Okay.     Did you rely on that for any of the
 12      opinions you give in your report?
 13        A.    No.

 14              Although I think it is consistent with my
 15      understanding of TEG's position, I don't think this was
 16      available.        'Cause this was executed January 30th, I'm
 17      not sure if I saw this prior to that, but I think it is
 18      consistent with my understanding of TEG's position.
 19                  (Thereupon, the below-referred to document was
 20        premarked as Plaintiff's Exhibit Number 7 for
 21         Identification.)
 22      BY MR. ROTHMAN:
 23        Q.    Okay.     Exhibit 7 is an "End User License
 24      Agreement".
 25              Did you review that and rely on it at all in

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  1      connection with providing your opinions?
  2        A.    So you have two questions in there, I think.
  3              Could you just repeat it and maybe break that
  4      apart for me?
  5        Q.    Did you review this prior to providing your
  6      opinions and did you rely on it?
  7        A.    I am not sure if I have reviewed it.             I don't have
  8      a Bates number on this document, so I can't check that
  9      one way or the other offhand, and I do not believe I
 10      relied on it for any of my technical analysis.
 11                  (Thereupon, the below-referred to document
 12        was premarked as Plaintiff's Exhibit Number 8 for
 13         Identification.)
 14      BY MR. ROTHMAN:
 15        Q.    What about the next -- same question for the next
 16      document, Exhibit 8, the "Source Code License
 17      Agreement".
 18        A.    Just for my own clarity, the document has a
 19      sticker on it that says "Exhibit 8", but the document's
 20      also labeled "Exhibit 6".
 21              Should I be going by the sticker and the file
 22      name?
 23        Q.    Just don't go with the Exhibit 6 name that's in
 24      the middle of the page.          It's the same -- it's the
 25      Exhibit 8.

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  1        A.    Okay.   So use the file name, the 00 8 as the --
  2        Q.    Yes, please.
  3        A.    Okay.   All right.
  4              I may have seen this.        I don't recall when.
  5      Obviously I believe I've seen this -- well, I certainly
  6      saw this when you sent it ten minutes ago.             I don't
  7      recall if I saw it before.
  8              Again, this document's not Bates numbered.             So I
  9      can't easily check that.
 10        Q.    Okay, but you didn't rely on it at all?
 11        A.    For the technical analysis, I don't think so, no.
 12        Q.    Okay.   Did you rely on any agreements for your
 13      analysis?
 14        A.    I don't think I'm relying on any agreement.              I had
 15      an understanding of certain agreements, but I think my
 16      analysis was all just based straight upon analysis of
 17      the source code and the other material cited in the
 18      record.
 19        Q.    So did you find -- in your review of the source
 20      code on the review computer in the four repositories
 21      listed on Attachment 2 under "Max Source Code Repository
 22      Data", did you find any source code that was written by
 23      anyone at TEG?
 24        A.    So that particular question is difficult to
 25      answer.     Both given the constraints on the review

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  1      computer and the fact that the source code has been
  2      isolated, it's difficult to do any side by side
  3      comparison.
  4              I know, if I recall from some of the declarations,
  5      that there are references -- or maybe it was from some
  6      of the testimony, there are references to pseudo code or
  7      other information that was provided.                So it would be
  8      hard for me to answer that without being able to do a
  9      full side by side comparison.
 10              Obviously that's separate from my opinion
 11      regarding the architectural similarities that are
 12      pointed out in my report, but in terms of actual source
 13      code, I would need both sets of data on one computer to
 14      do any side by side comparison.
 15        Q.    Understood, but is the answer to the question
 16      considering the constraints of your review, is the
 17      answer to the question that you didn't find any source
 18      code authored by anyone at TEG on the review computer?
 19        A.    I don't think I've offered an opinion on that.                 I
 20      think the constraints on that are, you know, I haven't
 21      been asked to get into the weeds of where did each line
 22      of code come from except insofar as that the
 23      architectural similarities, as I've pointed out in my
 24      report, are things that are             well, I'll rephrase.
 25              The architectural similarities in the source code

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  1      that was on the review computer are the same as the
  2      architectural elements that are present in the earlier
  3      source code that I've reviewed that was provided by TEG.
  4              That I would say is the same and I understand that
  5      that might have some bearing on that question.
  6              In terms of specific lines of code, I'm not in a
  7      position to do that analysis the way the code has been
  8      produced at this time.
  9        Q.    Okay.   So your engagement, you were not asked to
 10      determine where did the code come from; is that my
 11      understanding?
 12        A.    No, I wouldn't say that.
 13              I would say that what I was asked to do was to
 14      analyze the source code particularly as it pertains to
 15      what's in the record related to what TEG developed
 16      vis-a-vis the source code on the review computer.
 17              So, you know, in the particular context of what
 18      we're looking at here, that is architectural analysis.
 19              That is distinct from the question of analyzing
 20      individual lines of source code and saying, this line of
 21      source code was written by this person or that person.
 22        Q.    Okay.   You used the phrase a moment ago, "what TEG
 23      developed"; right?
 24              In other words, you were looking at, what did TEG
 25      develop that was in my client's source code; right?

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  1        A.     Well, a couple of things.
  2               First and foremost, you said your client's source
  3      code.
  4               Are we talking about the source code on the review
  5      computer?
  6        Q.     Yes, Max's source code.
  7        A.     Well, okay, I -- first, again,                just to be clear,
  8      my -- I'm happy to refer to it as the source code in the
  9      review computer, but my understanding is the ownership
 10      of that source code is at issue.
 11               So just so the record is clear, when we're talking
 12      about what you have referred to as Max's source code,
 13      I'm only referring here to the source code in the review
 14      computer.
 15               I have no opinions on the ownership of the source
 16      code.       Those are legal issues outside the scope of my
 17      report just so that's clear for everything.
 18        Q.     Okay.   Agreed.
 19        A.     With that said, perhaps you could repeat your
 20      question just to make sure I give you a complete answer
 21      to it.
 22        Q.     Thank you.
 23               So it was not part of what the -- what you did in
 24      your analysis to determine whether TEG developed any of
 25      the source code on the review computer?

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  1        A.    Well, I think that's conflating sort of an idea
  2      that we're looking at individual lines of source code
  3      versus the underlying designs that are used to implement
  4      the system.
  5              You know, I mean you -- to the extent that the TEG
  6      source code implements those designs and those designs
  7      are then present later in the source code on the review
  8      computer, I'd say that is part of my analysis.
  9              To the extent we're talking about looking at each
 10      line of code, that's not something that can easily be
 11      done based on the constraints that were placed on the
 12      review computer, and so, you know, the -- I think,
 13      again, the architectural analysis is really what we're
 14      talking about in terms of designs that were developed by
 15      TEG that then get implemented in the source code on the
 16      review computer.
 17         Q.   Okay, and when you're talking about "designs that
 18      were developed by TEG", you were referring to the detail
 19      that you put into your analysis beginning at paragraph
 20      21 of your report under the heading "Design"?
 21        A.    In general.
 22              Obviously the findings are more specific as you
 23      get down into that.      That section includes some
 24      methodology and some further background, but in general,
 25      that is correct.

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  1        Q.    Okay.   So what was it that you determined TEG
  2      designed?
  3        A.    So there is several elements of the architecture
  4      that I point to in my report and these are covered in
  5      paragraph 29 and its respective subparts.
  6              So one element of it is the concept of a single
  7      message box or a source of information that is used to
  8      distribute messages to all connected users.
  9              As I point out, that serves the same function as
 10      the board that is in the source code on the review
 11      computer.
 12              Another is the use of WebSockets as the
 13      transmission technology, for lack of a better term, to
 14      send and receive data to clients connected to the
 15      software, and it        further, the attachments or rather
 16      the components that are used for certain types of media
 17      that are stored on the boards or in the message boxes,
 18      however you want to phrase it, related to chat and video
 19      streaming functionality.
 20              The same general organization for how those
 21      components are laid out in the software, their purpose
 22      and how they interoperate is the same as what's in the
 23      source code on the review computer.
 24        Q.    Okay.   So summarizing, one, the architectural
 25      concept of a board; two, the use of WebSockets; and

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  1      three, the use of components for media such as chat
  2      video; is that an accurate --
  3        A.    I would say it's probably you've gone a little too
  4      high level.
  5              It's not necessarily, for example,          just the
  6      architectural concept of the board but how it fits into
  7      the system as a whole and how it interoperates with the
  8      other components.
  9              I think all of how those pieces fit together is
 10      centered around the board as part of the architecture as
 11      well.
 12        Q.    Okay.   So in the course of your review leading to
 13      your opinions in your report, were you given any design
 14      or architectural documents that were authored by someone
 15      at TEG that laid out these three items?
 16        A.    I would say this is based on my analysis of the
 17      code.
 18              I would also say to the extent there are README
 19      files or other documentations that are included in the
 20      source code, that's relevant too.             That provides some
 21      overview in some of the components I seem to recall.
 22              I don't know that there are other documents beyond
 23      that, but my analysis is all based on the source code
 24      directly and what's in those repositories.
 25        Q.    Okay.   So there is an item, a vocabulary item, in

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  1      in Exhibit 2.      It's item 3.1164 called "detailed design
  2      description".
  3              Did you see anywhere in your review a detailed
  4      design description authored by someone at TEG?
  5        A.    I don't think so.
  6              It's not necessarily something that is always
  7      produced when you're developing source code, but it                   I
  8      don't recall seeing one for this particular project.
  9        Q.    Did you see any indication that there was ever a
 10      detailed design review conducted, which is defined in
 11      3.1164?
 12        A.    That's something that would come typically, I
 13      would say, later in the software development process.
 14              You know, I think of -- for context, I've had
 15      cases where, for example, in the development of software
 16      for the healthcare industry, you know, oftentimes, if
 17      you're using a software development lifecycle such as
 18      those promulgated by the Center for Medicare Services,
 19      they'll have specific phases where they say, you're
 20      going to do your development, and then there will be a
 21      detailed design review phase where, you know, all the
 22      documents you've built, which we've required as part of
 23      a particular project, are going to be examined.
 24              So that happens in some projects based on the
 25      specific nature of what's going on and how the

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  1      development is being done.         That's not necessarily
  2      relevant for what we're looking at here.
  3        Q.    Okay.   Did you see any documentation other than
  4      what you saw in the source code that laid out the design
  5      requirements written by someone at TEG for the three
  6      items that you identify?
  7        A.    I don't know that I've seen anything in terms of
  8      requirements for -- we're talking about the items in
  9      paragraph 29; right?
 10        Q.    Yes.
 11        A.    I don't know that I've seen anything that provided
 12      requirements that were written earlier on for that.
 13              Certainly all of that code, if you look in the
 14      repositories developed between 2017 and 2018, I don't
 15      think anything I've seen dates back to that period for
 16      specifically those requirements.
 17              There's obviously other requirements that are, you
 18      know, elsewhere in the record, but I don't think there's
 19      anything for that time period.
 20        Q.    Okay.   Did you come across in your review anything
 21      that you would describe as a software development plan
 22      that included the three items in paragraph 29 that was
 23      written by someone at TEG, and the definition of
 24      software development plan is at 3.3806.
 25        A.    Give me one moment to take a look at that; 3.3806?

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  1        Q.    Uh-huh.
  2        A.    One moment.   Let me take a look.
  3              No, but I wouldn't expect to see something like
  4      that in a software development plan.
  5              Software development plans are typically processes
  6      that are described for how the software is going to be
  7      developed in terms of where source code will be stored,
  8      who's going to work on it, who will have review
  9      authority, how a particular branch of the source code
 10      might get handled, things of that nature that have more
 11      general purpose to how the software is developed.
 12              They're not going to be specific to any one
 13      particular project's requirements or designs or things
 14      like that.    They're a higher level document typically.
 15        Q.    Did you find anything in your review that
 16      contained the three items in paragraph 29 written by
 17      someone at TEG in the nature of software design
 18      description, which is defined in 3.3799?
 19        A.    I'll take a look at that document.
 20              No.   I think it's, again, sort of consistent with
 21      what I said earlier on the design documents, which are
 22      the detailed design description.
 23              You know, there's not much in terms of
 24      documentation that sets forth sort of the abstract
 25      designs.

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  1               You know, my analysis and assessment of the source
  2      code is based on my training, experience and my
  3      background as a system architect and my analysis of the
  4      source code primarily.
  5               I don't know that I've seen something where this
  6      was broken down at the level of some of those kinds of
  7      documents except insofar as that there may be
  8      documentation in the source code as well.
  9        Q.     Okay.   You talk about documentation in the source
 10      code, right.
 11               We're talking about comments or notes that are in
 12      the source code itself; correct?
 13        A.     Correct, and I'd include README files in that
 14      description as well.
 15        Q.     And README files.     Okay.
 16               When you were looking at the code in the repos
 17      that are listed at the top of Attachment 2 under "TEG
 18      Source Code Repository Data", did you see any comments
 19      or README files that were written by TEG employees or
 20      contractors?
 21        A.     I think that's right, but I would have to go back
 22      and check the source code to see the history of those
 23      files.
 24               Certainly there are README files in at least some
 25      of these repositories, but I would have to check and

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  1      see, looking at the history, who wrote them.
  2        Q.    Okay, but you don't recall seeing -- sitting here
  3      today, you don't recall seeing any that were written by
  4      TEG employees or contractors?
  5        A.    I mean I would say that's my understanding -- my
  6      recollection, rather, excuse me, but I would have to go
  7      and check.
  8              I mean there's a hundred commits or more across
  9      these repositories, each of which has its own metadata.
 10      I just don't recall the specifics of each one as I sit
 11      here.
 12        Q.    Okay.   It's my understanding that the items, the
 13      three items in paragraph 29 that you're identifying as
 14      being things that TEG developed, right, it's my
 15      understanding that in doing your review, that you were
 16      looking at the code to determine whether someone from
 17      TEG developed those items in paragraph 29, or am I
 18      incorrect about that?
 19        A.    I mean I think that is correct.
 20              It is certainly my understanding that the source
 21      code was written by TEG.        You know, if you're asking
 22      more specifically beyond that, who, I would have to
 23      check the repository.
 24        Q.    Okay.   So is it your understanding then that the
 25      first item in the source code repository list for TEG at

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  1      the top of Attachment 2, "aces", is it your
  2      understanding that the source code in ACES was written
  3      by someone at TEG?
  4        A.     Well, I guess I should be a little specific here
  5      to be safe.
  6               So my understanding in general is that the source
  7      code we're talking about here in the two, three, four,
  8      five, six, seven, eight, nine               no, I'm sorry, the
  9      eight bullet points at the top of Attachment 2 under
 10      "TEG Source Code Repository Data" generally are all
 11      components of the ACES software.
 12               I've tried to refer to it broadly in my report to
 13      make it a little easier, but specifically I'm referring
 14      to all of those eight bullet points that are at the top
 15      of Attachment 2 when I'm talking about the ACES software
 16      in that section.
 17        Q.     Okay.    So from "aces", which is the first bullet
 18      point, down to "web-video", which is the eighth bullet
 19      point,
 20        A.     Correct.
 21        Q.     --   all of these are part of the ACES software?
 22        A.     When I'm using that term in the report, that's
 23      what I'm trying to get at, yes.
 24        Q.     Okay, and is it your understanding that those
 25      first eight items contain source code that was written

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  1      by someone at TEG?
  2        A.    That's my recollection, yes.
  3        Q.    Okay, and it's your recollection based on what?
  4        A.    Review of the source code repository data.
  5        Q.    Okay, and by review of the source code repository
  6      data, you mean the person who did the commit to the
  7      repo?
  8        A.    Commits, plural, I think that is correct.             I'd
  9      have to check and see if there is further data and
 10      comments or documentation that might also support that,
 11      I don't recall offhand, but at the very least, that
 12      would be one source of metadata towards that point,
 13      correct.
 14        Q.    Okay.   Did you have some list of TEG personnel
 15      that you could refer to when reviewing the commits to
 16      identify, oh, this person who did this commit on this
 17      date in the ACES software, which is the first one, that
 18      person was a TEG employee?
 19        A.    I would have to go back and check my materials to
 20      see if I had a list or something provided.
 21              Certainly I have an understanding as to some of
 22      the people who are TEG employees, but I don't know that
 23      I have a comprehensive list.           I'd have to check the
 24      materials that I've been provided.
 25        Q.    Well, I'm trying to understand how you knew, from

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  1      looking at the names or e-mail addresses of people who
  2      did the commits for the first eight items, that those
  3      people were working for TEG at the time.               That's what
  4      I'm trying to understand, because I thought I heard you
  5      say that all of the commits for those first eight items
  6      were by TEG people.
  7        A.    I'm sorry.
  8        Q.    Did I hear that correctly?
  9        A.    No, I'm not sure I said it quite like that.
 10        Q.    Okay.
 11        A.    I think what I said was that I believe there are
 12      commits by individuals who are TEG in there.                I seem to
 13      recall that.
 14        Q.    Okay.
 15        A.    I don't actually know if I can tell you all of
 16      them are one way or another.             I'd have to look at the
 17      source code repository.
 18        Q.    Okay.
 19        A.    I certainly have an understanding that the code
 20      that TEG provided, I believe they've said that that was
 21      code that they developed.
 22              I would have to double-check that as well, but I
 23      think that is consistent with my review of the
 24      repository data, but, again, I don't have it in front of
 25      me.    I would have to go back and look.

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  1        Q.    Okay.   So do I understand correctly then that it
  2      was represented to you by whoever gave you those repos
  3      that at least the first eight items at the top of
  4      Attachment 2 contain code developed by people at TEG; is
  5      that the representation given to you?
  6        A.    I think when I was initially provided that, when
  7      we were discussing what was available for my analysis, I
  8      think that's right.      I think that's also consistent with
  9      my review, as I recall it, looking at the commit
 10      histories, and I think those -- I think that was
 11      consistent, but, again, I would have to check the
 12      repository data.
 13        Q.    Okay, and when you say you think it was
 14      consistent, for example, the metadata for these commits,
 15      would they contain e-mail addresses that would indicate
 16      that the person who did the commit had an e-mail address
 17      @triangleexperiencegroup.com; is that what you mean?
 18        A.    So when you commit to a source code repository,
 19      you're going to have a name and an e-mail.
 20              The name and the e-mail may or may not be at a
 21      particular organization.
 22              There are many times I've seen when people use
 23      their -- get accounts on their local computer and they
 24      forget they have their local e-mail address put on, so
 25      like a Gmail or Hotmail account that -- but it will

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  1      still say typically their name.
  2              That is the kind of metadata that's usually
  3      included with the repository that we're talking about
  4      here.
  5        Q.    Okay.   Well, but wouldn't you then have to have
  6      been given a list of all the names of the TEG developers
  7      in order to match them up with the commits to know that
  8      the source code in those commits was written by someone
  9      who worked for TEG?
 10        A.    Well, no, not necessarily.
 11         Q.   Well, how else would you know?
 12        A.    Well, you said, would I need to be provided a
 13      list.
 14              I mean the names of some of these individuals are
 15      in the record.
 16              Kevin Mullican, obviously I don't need to see --
 17         Q.   Okay.
 18        A.    -- his name on a list to know he's associated with
 19      TEG.
 20         Q.   Okay.   So you saw Kevin Mullican's name as being
 21      one of the names of someone who committed -- who did a
 22      commit to the first eight repos?
 23        A.    It seems correct, but I don't recall as I sit here
 24      for sure.
 25        Q.    Okay.   So were there other names that you saw who

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  1      you know from the record who committed software in the
  2      first eight items?
  3        A.     Again, I would have to check the repository
  4      history.      I don't recall all of the entries as I sit
  5      here today.
  6        Q.     Okay.   What about the last three items,
  7                                                                    did you
  8      examine those to determine who did the commits?
  9        A.     For those, I recall looking at the history at one
 10      point.      I don't recall the specifics of that right now.
 11               I think what I was looking at was looking
 12      particularly at the initial version to understand the
 13      architecture of the software as it existed when it was
 14      first checked into those repositories, so at the
 15      earliest possible time available.
 16        Q.     Okay, and did you -- when you looked at those
 17      initial commits, did you see that there were names of
 18      people committing the software who worked for TEG?
 19        A.     Again, I would have to go look at the repository
 20      history.      I don't have their history of their
 21      repositories memorized.
 22               There's hundreds of entries in these different
 23      databases.
 24               It's -- you know, it's the sort of thing that you
 25      would typically look up looking at the repository

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  1      instead of trying to remember.
  2        Q.    Okay.   Just to make things clear, you're not
  3      sitting here offering an opinion that TEG or anyone
  4      working for TEG wrote source code in any of these
  5      repositories at the top of Attachment 2, right; that's
  6      not one of your opinions?
  7        A.    I'm not sure I would say it like that.
  8              Certainly I have an understanding that, to start
  9      with, I asked for what TEG's preexisting codes that they
 10      have available, what was it.
 11        Q.    Okay.
 12        A.    So that's the starting point.
 13              I would -- I seem to recall, looking at it, that
 14      there are commits that are consistent with TEG employee
 15      names like Kevin Mullican, I think, perhaps in these
 16      repositories.      I don't recall all the specifics.
 17              You know, that might be an understanding
 18      assumption in some of the analysis, but I don't know
 19      that I've -- I wouldn't quite phrase it the way that I
 20      think you did in your question.
 21        Q.    Okay.   I just want to make sure that we understand
 22      the scope of your report because it seems to me that
 23      there is a difference -- and correct me if you think I'm
 24      wrong, Mr. Ferrara, it seems to me that there's a
 25      difference between writing source code and what you say

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  1      TEG did in paragraph 29 with those three items.
  2        A.    I'm sorry.     Was that a question?
  3        Q.    Yeah.
  4              Is there a difference between writing source code
  5      and what you say TEG did in paragraph 29 with the three
  6      items that you've highlighted?
  7        A.    Yeah.   I mean I would say they're both different
  8      parts of the software development process.               They are --
  9      you know, the design process is upstream of the code.
 10      You can't write code until you've done some degree of
 11      design.
 12         Q.   Okay.   Thank you.
 13              If we go back and take a look at, for example,
 14      paragraph 22, you're saying
 15        A.    Paragraph 22 of which document, please?
 16         Q.   Of your report,
 17        A.    Okay.
 18         Q.   -- page 11.
 19              You say, "I understand from my conversations with
 20      TEG".
 21              Okay.   So who did you have conversations with and
 22      when did those conversations take place and how long did
 23      they take?
 24              Can you start first with who did you speak to?
 25        A.    I don't know that I recall all the individuals.

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  1              Certainly Mr. Mullican was one of them.
  2        Q.    Okay, and when did you speak to him; most
  3      recently, when did you speak to him?
  4        A.    I mean I don't recall.         It's been some months
  5      since
  6        Q.    Okay.
  7        A.    -- that initial conversation or conversations.
  8        Q.    Okay.   Did you take notes?
  9        A.    I don't think so.      If I did, it would have been --
 10         Q.   Okay.
 11        A.    -- in the form of sort of data that ultimately
 12      gets finalized in the report as is.
 13         Q.   And what do you recall him telling you?
 14        A.    So my recollection is that he said, in 2017 and
 15      2018, he was working on back end source code directed at
 16      developing sort of the next version of the software that
 17      they had been working with previously, that they were
 18      moving to a web-based system, which is going to have a
 19      different architecture design for the what I understand
 20      was a client-based system, one you would install on a
 21      computer that had been the code or the software he'd
 22      been previously working with, and he had been working on
 23      developing the underlying components of that new
 24      software prior to the engagement of Max Minds in, I
 25      think, 2019.

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  1        Q.    Okay.   So in paragraph 24, you say that you
  2      compared -- first line, "I compared the source code
  3      architecture and design of source code that TEG wrote
  4      for ACES, TEG's predecessor to the Haptic Federal
  5      software, to both early and later versions of the Haptic
  6      Federal software developed in mid-2019 and fall 2023,
  7      respectively."
  8              So can you identify for me the items on
  9      Attachment 2 that you compared ACES to?
 10        A.    Sure.
 11              So that's going to be to source code in the --
 12      from the review computer.
 13        Q.    Oh, okay.
 14              So how did you do that comparison?
 15        A.    So -- excuse me one moment.
 16              So I reviewed using a technique called Static Code
 17      Analysis where you're actually reviewing the code as
 18      opposed to running it, read through the files,
 19      understood the relationships, understood how the
 20      different components interconnect and the system
 21      architecture fits together, and I compared that, again,
 22      Static Code Analysis to review how the source code
 23      worked on the read computer, how the different
 24      components connect, the different relationships between
 25      them and the different parts of the software that are

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  1      involved.
  2        Q.    Okay.   Did you do the comparison simultaneously or
  3      did you first review the software on the review
  4      computer, the source code on the review computer, and
  5      then subsequently review ACES, or did you do it in the
  6      other way around, or was it at the same time; how did it
  7      happen?
  8        A.    I would say I reviewed ACES first and then the
  9      Haptic Federal software second.
 10        Q.    Okay, and what was the period of time between your
 11      review of ACES and your review of the Haptic Federal
 12      software?
 13        A.    I mean I don't recall specifically.
 14        Q.    So was it a day, a month, a year; I mean
 15      approximately what period of time?
 16        A.    I mean a few weeks, I suppose, since the initial
 17      review.
 18              I certainly went back and refreshed myself looking
 19      at the source code as I was doing review, and I had my
 20      own computer, you know, connected to the -- to my
 21      network with access to the source code for my review as
 22      I was doing that.
 23              So it wasn't like, you know, I had to memorize all
 24      of ACES and then go in and look at it.              I had
 25      information available when I needed to do those

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  1      comparisons.
  2        Q.    Okay.   So you had it -- when you did the review,
  3      you had your own computer that had ACES on it next to
  4      the computer that you did the review on so you could
  5      look from one to the other?
  6        A.    Yeah.   I mean it's not the best process, but it's
  7      serviceable if you really have to.
  8        Q.    Okay.   You didn't see any source code statements
  9      that were identical though; correct?
 10        A.    I don't know that I could say that one way or
 11      another.
 12              Again, my focus was on the architecture and the
 13      analysis of how those pieces fit together.
 14         Q.   Okay.
 15        A.    There could always be lines that end up being
 16      identical as a result of the fact that there are
 17      programming constructs that will look the same when
 18      you're doing any sort of development, but, you know, I
 19      didn't go deeper into it from the particulars of
 20      particular lines of code.
 21              Again, this was an architectural analysis of the
 22      parties' source code.
 23        Q.    What programming language or languages were -- was
 24      ACES in the first eight bullet points on Attachment 2
 25      written in?

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  1        A.     I think it was C++, but I would have to
  2      double-check if that's the only thing it's written in.
  3        Q.     Okay, and what about the review computer; what
  4      language was the code written in there?
  5        A.     Primarily C-Sharp.     I think there's also
  6      JavaScript components if I recall.
  7        Q.     You say in paragraph 25 in the first line that
  8      "Analysis of the parties' source code demonstrates that
  9      core architectural design elements", okay, "used", you
 10      go on.
 11               Those are the items listed in paragraph 29, right,
 12      the core architectural design elements?
 13        A.     For the TEG software for the Haptic Federal
 14      software, that's in 27 through 28.
 15        Q.     Okay.   So the first item that you're dealing with
 16      in 26 "is the architectural concept of a board".
 17               Do you see that?
 18        A.     I do.

 19        Q.     Okay, and then at the end of that paragraph, you
 20      drop a footnote 10 there at the bottom, and then you
 21      begin to cite to certain lines in the Haptic Federal
 22      software; right?
 23        A.     I believe that's correct.
 24        Q.     Okay.   Do you know who wrote the source code at
 25      the lines cited in footnote 10?

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  1        A.    I mean not as I sit here at this moment.              I would
  2      have to go and look at the repository.
  3        Q.    Okay, and then it's my understanding that if we go
  4      forward to paragraph 29.1, that 29.1 is the same design
  5      elements that you found in TEG's software; right?
  6        A.    You mean in the Haptic Federal software?
  7        Q.    Right.
  8              So 26 describes what you saw in the Haptic Federal
  9      software and then 29.1 is your description of what -- of
 10      that same element that you found in the TEG software?
 11        A.    That's correct.      I think you had reversed it when
 12      you said it.       So --
 13        Q.    Sorry.
 14        A.    No, no.     I'm just making sure I was clear on the
 15      question.
 16        Q.    Okay.     So you drop a footnote to 29.1 to
 17      footnote 18 and you go into some detail.               It goes on to
 18      the next page about different lines where you find that.
 19              Do you know who it was who wrote the source code
 20      that you're citing to in footnote 18?
 21        A.    So, again, I would have to check in the repository
 22      history, but I want to just make clear, at this point,
 23      when we're talking about the source code, you know, we
 24      need to distinguish here between just the actual line of
 25      text and the design, the sequence, the structure, the

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  1      organization of how this system operates that are being
  2      implemented by those lines of text.
  3              You know, you might be able to say look at the
  4      repository and see who wrote down the actual here is the
  5      text of this particular line in a particular commit, but
  6      that is distinct from the question of the design
  7      elements, the structure and sequence and organization
  8      that's inherent in those lines.             That is a different
  9      point that's not quite the same.
 10        Q.    Okay.   Is it your opinion that the design
 11      elements, which you're saying are different from the
 12      source code, that these design elements that you found
 13      in paragraph 29, the three of them, that those design
 14      elements were confidential information owned by TEG?
 15              MR. DELANEY:    Object to the form of the
 16        question.
 17              You can answer.
 18              THE WITNESS:    So, yeah, I mean I would say, to
 19         start, I don't think I've offered any opinions one
 20        way or another on confidentiality.
 21      BY MR. ROTHMAN:
 22        Q.    Okay.
 23        A.    I can say that the design elements between the two
 24      are the same and the design elements listed in 29.1
 25      through 29.3 are all developed between, I think, 2017

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  1      and 2018.
  2              I'd have to double-check the dates for the
  3      earliest commits on some of those, but at least through
  4      2018.       Those are the most recent commits, I think, which
  5      are cited in my report.
  6        Q.    Okay.
  7        A.    Those predate the designs that are implemented in
  8      the Haptic Federal software.
  9        Q.    Okay, and in other words -- well, withdrawn.
 10              Are you -- is it your testimony that TEG was the
 11      first to use the concept of a board in the design of
 12      software?
 13        A.    No.     I think that's going further.
 14              I'm talking about a board in the context of this
 15      particular application and how the pieces of that puzzle
 16      fit together.
 17        Q.    Okay.    Are you       is it your opinion that TEG was
 18      the first to use the concept of a board in this type of
 19      application; that is, no other software company had
 20      previously used the concept of a board in this type of
 21      software application?
 22        A.    No.     Now you're going too narrow.
 23              So, again, it's -- that is one component and it is
 24      the core of this application as a part of the larger
 25      system architecture.

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  1              It is the most important concept for someone to
  2      understand when you're trying to figure out how these
  3      components work, but it's part of this system as a whole
  4      and that's what I'm looking at when I'm comparing these
  5      two.
  6              I'm not going -- you've gone both broader and more
  7      narrow.     That's not quite what I'm saying.
  8        Q.    Okay.   Is it that the combination of the concept
  9      of a board, the use of WebSockets and the use of chat
 10      and video streaming functionality together is something
 11      that TEG was the first to use; is that what you're
 12      saying?
 13        A.    I don't think I have said that they are the first
 14      to use it.
 15        Q.    Okay.
 16        A.    I said they developed a system using this
 17      architecture.
 18              I haven't gone further than that to say it was the
 19      first time, but I think that this architecture was
 20      developed by TEG for this application and its purpose,
 21      and then my understanding, that is Mr. Mullican
 22      testified that he then had meetings with Mr. Fischer and
 23      discussed and provided that design architecture as the
 24      parties started at the outset of their relationship, and
 25      then what I can see in the Haptic Federal code is the

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  1      same architectural elements are present in the designs
  2      that are inherent in TEG's source code.
  3        Q.    Okay.     Great.
  4              MR. ROTHMAN:       Do you want to take a break now
  5         or -- for five minutes --
  6              THE WITNESS:       That's fine.
  7              MR. ROTHMAN:       -- and then we can come back.
  8              It's 20 after 11.          I have some more to ask, but
  9         just to offer it to you.
 10              THE WITNESS:       Sure.     I'd love to get a bottle
 11         of water actually.
 12              MR. ROTHMAN:       Okay.     Great.      Me too.
 13              All right.     Let's take five minutes.
 14              Thanks.
 15                  (Thereupon, a recess was taken at 11:21 a.m.,
 16         after which time the deposition resumed at
 17         11:27 a.m.)
 18      BY MR. ROTHMAN:
 19        Q.    Okay.     So let's look at paragraph 27.
 20              Paragraph 27, you talk about "implementing the
 21      WebSockets communications protocol"; correct?
 22        A.    Correct.
 23        Q.    Okay.     In your footnote 12, you refer to the
 24      protocol "Comments 6455" from the Internet Engineering
 25      Task Force.       It's dated December 2011.

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  1              Do you see that?
  2        A.    I do.

  3        Q.    Okay.    So you're not saying that it was TEG's idea
  4      to use WebSockets as a design element for a computer
  5      program initially or originally; correct?
  6        A.    Can you repeat that?       I'm not quite sure that it's
  7      right the way you phrased it.
  8        Q.    You're not saying that it was TEG the first to use
  9      WebSockets as a design element for a computer program?
 10        A.    For any computer program ever?
 11        Q.    Right.
 12        A.    Correct.   That's further than I'm going.
 13              It's the choice of this particular technology for
 14      this particular architecture is what we're talking about
 15      here.
 16        Q.    Okay, and it's -- you're basing your opinion on
 17      the fact that you saw the use of WebSockets in ACES, you
 18      were told that ACES was created by TEG, and then you saw
 19      the use of WebSockets in the haptic review computer;
 20      correct?
 21        A.    I mean I --
 22              MR. DELANEY:    Object to the form.
 23              THE WITNESS:    I would say you have perhaps
 24         oversimplified that.
 25              It's not just the use of WebSockets, the use of

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  1        WebSockets as part of the architecture as a whole.
  2         It's not just, oh, here's WebSockets in one.             Here's
  3        WebSockets in another.
  4              It's how those components are connected to
  5         implement the functionality of the two systems as a
  6        whole.
  7      BY MR. ROTHMAN:
  8        Q.    Okay.   I only have three elements that you've
  9      called out in paragraph 29, right; the board, WebSockets
 10      and chat and streaming -- chat and video streaming.                I
 11      just have those three.
 12              Are you saying that there are more design elements
 13      that TEG contributed besides those?
 14        A.    I'm saying that while I have summarized those
 15      elements to high levels, specific connections and the
 16      specific implementations that build those up for these
 17      purposes are part of that as well.
 18              You can't just reduce it just to that level.              It's
 19      a little bit broader than that.            In fact, that's some of
 20      what I have cited in the footnotes where I'm pointing to
 21      specific conscience to be able to say, this is where
 22      some of that functionality is implemented that links
 23      these things together.
 24        Q.    And do I understand correctly that there is no
 25      design document anywhere that specifies the use of these

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  1      three design elements in how they're linked together as
  2      you've described?
  3        A.    I would say I don't know that I have seen one
  4      that's like a document that was written in advance of
  5      programming.       It's not necessarily atypical, especially
  6      if you have a small team or individuals working on code.
  7      They don't necessarily write down a design document, but
  8      I mean I don't know that I have seen one so far, --
  9        Q.    Okay.
 10        A.    -- again, with the caveat of my earlier testimony
 11      being except insofar that there's documentation in the
 12      source code itself on README files and other materials
 13      as well.
 14        Q.    Okay.   The documentation in the source code that
 15      you saw, the README files and the comments, did you see
 16      any README files or comments where, when you read them,
 17      it indicated to you that the three elements that you
 18      call out in paragraph 29 made up some larger design
 19      concept that TEG was going for, or did it just talk
 20      about, in this piece of code, we use WebSockets, or in
 21      this piece of code, we implement chat and video
 22      streaming?
 23        A.    I would have to --
 24        Q.    Do you understand my question?
 25        A.    I understand your question.             I just don't recall

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  1      as I sit here.     I would have to go back and look at the
  2      code to answer it specifically.
  3        Q.    Okay.   So I'm trying to understand whether it's
  4      your opinion that it's these three items in paragraph 29
  5      used together that constitutes what TEG contributed or
  6      whether TEG's contribution consists of three separate
  7      features functionality from a design standpoint that are
  8      disconnected from each other.
  9              Do you understand my question?
 10        A.    No, I don't think I do.
 11         Q.   Okay.   By combining these three items into
 12      paragraph 29, you seem to be suggesting that these three
 13      items are somehow connected.
 14              In other words, the use of WebSockets with a board
 15      and chat and video streaming is TEG's design concept.
 16              Is that what you're saying?
 17        A.    I think in that they are sort of the core of the
 18      architecture that was being implemented, I think that is
 19      correct, --
 20         Q.   Okay.
 21        A.    -- and there's other parts of the system as well
 22      obviously which, again, I'd have to refer back to the
 23      source code for, but I think in general terms, that's
 24      correct.
 25        Q.    Okay, but you never saw anywhere where it said you

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  1      have to use WebSockets and a board and chat and video
  2      streaming functionality together; you never saw anything
  3      like that?
  4        A.    I mean except for the source code itself perhaps,
  5      which is where those designs are implemented.
  6        Q.    Right.
  7        A.    I mean it's in the pudding on something like that.
  8      That's what they ultimately built, --
  9        Q.    Okay.
 10        A.    -- just source code.
 11        Q.    Got it.
 12              So beginning in paragraph 32, you go through
 13      testing.
 14              What is it that you're saying that TEG contributed
 15      in terms of testing?
 16        A.    So refer you to, for example, 33 and 34.
 17              In 33, I say, "Evidence in the record demonstrates
 18      that TEG performed system testing on the Haptic Federal
 19      software", and in 34, I refer to "regression testing",
 20      which is a form of testing that is similar to system
 21      testing, but it's for the specific purpose of
 22      demonstrating that defects that may have already been
 23      resolved have not recurred after functionality that has
 24      been changed and being further modified or extended,
 25      basically making sure that if you change something to

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  1      fix a problem, when you make further changes, you didn't
  2      break it again.
  3        Q.    Okay.
  4        A.    Let me -- if I may, let me just finish reading --
  5        Q.    Sure.
  6        A.    -- to make sure there's nothing further I wanted
  7      to add to that.
  8              Yeah, I mean I guess, in general, this whole
  9      section involves sort of the testing after its -- we can
 10      go through in more detail.
 11              There's evidence that I point out in 36 that there
 12      is testing going on and defects that are being
 13      remediated and identified by the parties jointly.
 14              I've identified various defects that appear to
 15      have been identified by TEG personnel in 38.              That's
 16      also covered in Attachment 3 to my report, you know, and
 17      obviously I talk about some changes that seem to have
 18      been implemented in the source code, you know, looking
 19      through the materials in terms of the records that were
 20      identified by TEG as a problem that ultimately were then
 21      changed by Max sort of at the direction of TEG to
 22      resolve the issue.
 23        Q.    Okay.   So TEG was not making changes to the source
 24      code as a result of testing; it was all done by someone
 25      at Max?

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  1        A.     I would have to look at -- in general, that might
  2      be right.
  3               There may be things like system configurations or
  4      other things that would have been changed by TEG on the
  5      corey (phonetic) version of the source code, for
  6      example, that they might have identified and fixed.
  7               I would have to go back and look and see if
  8      there's anything indicative of that particularly, but
  9      that is one possibility when you're doing this kind of
 10      system testing in software.
 11        Q.     Okay.   One possibility but not something that you
 12      observed?
 13        A.     I'm not sure if there was anything that was
 14      referenced in some of the conference call videos I saw.
 15      So I'd have to go back and check through some of those
 16      again.
 17               I know they did talk about some things that they
 18      were changing, configurations and other materials, but I
 19      don't know that I could give an affirmative answer one
 20      way or another or not without checking those materials
 21      again.
 22        Q.     Okay.   So did you see in the course of your review
 23      any sort of test design documents or specifications?
 24        A.     I seem to recall there were                there's references
 25      in the record to testing and test plans, but I would

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  1      have to go back and check the materials that I saw those
  2      in to refresh my recollection.
  3        Q.    Okay.     Did you see any test documents that were
  4      written by TEG; other words, a test specification that
  5      TEG -- someone at TEG wrote?
  6        A.    I don't -- nothing like that comes readily to
  7      mind.
  8              I know there were four to five reports, I believe
  9      I've seen, that included programatically detected
 10      security vulnerabilities and things like that.
 11              In terms of like a plan for how testing is to be
 12      done, I don't know that I've seen something like that,
 13      although that again is like -- just like with the
 14      software design documents, you know, your mileage will
 15      vary on the extent to which parties actually create
 16      those upfront.       Some do.    Some don't.
 17        Q.    You talk about regression testing in paragraph 34.
 18              There's a definition of regression testing in
 19      3.3371.
 20        A.    You're talking of the ISO standard?
 21        Q.    Yeah.
 22        A.    Uh-huh.
 23        Q.    When you talk about regression testing, are you
 24      saying that TEG did regression testing?
 25        A.    So for that, I mean that's my understanding of

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  1      what we're talking about here in, for example, the
  2      April 25th, 2023, conference call that's listed in                   or
  3      I should say that's transcribed in paragraph 33 where
  4      Mr. Herren and Mr. Sinnk talk about running regression
  5      parallel together, or I should rephrase, where it
  6      says -- where Mr. Herren says, "We can run through
  7      regression testing, right?          In parallel."
  8        Q.    Okay.     You say in the last sentence of paragraph
  9      34, "Regression testing is typically a technical test
 10      carried out by the software's developer"; right?
 11        A.    I   do.
 12        Q.    Are you saying that it cannot be done by the
 13      software user or the software distributor?
 14        A.    Typically, no.     Typically when you're doing
 15      regression testing, it's part of the development cycle
 16      where you're working on developing software for a
 17      particular purpose.
 18              So, you know, there are various kinds of technical
 19      tests that will be done as part of the software's
 20      development in order to ensure that it works right.
 21              Regression -- and those are all very technical in
 22      nature.      You know, that's not something a user would
 23      typically do.
 24              Regression testing is one of those tests.              That's
 25      the sort of thing a developer would do as part of its

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  1      system testing to make sure fun -- a particular area of
  2      functionality is stable.
  3        Q.     Well, but the -- one of -- several of the
  4      definitions for "regression testing" in Exhibit 2, for
  5      example, definition 2, "testing required to determine
  6      that a change to a system component has not adversely
  7      affected functionality, reliability or performance and
  8      has not introduced additional defects", do you see that?
  9        A.     I do.

 10        Q.     It seems like something that a user could do;
 11      right?
 12        A.     I mean as a like could somebody go and press a
 13      button to regression test, theoretically, that is
 14      possible.        In practice, that's not what is done.
 15         Q.    Well, but your transcript here, assuming that
 16      there were changes made to the software by Max, to the
 17      source code by Max, okay, are you with me?
 18        A.     Uh-huh.
 19         Q.    And then there was a need to make sure that those
 20      changes have not adversely affected functionality,
 21      reliability or performance and didn't introduce
 22      additional defects, then how is what's described in
 23      paragraph 33 inconsistent with that?
 24        A.     Because a user is not typically the party in a
 25      software development project who's executing those

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  1      technical tasks.
  2              In a typical software development project, the
  3      vendor, the manufacturer of the software, is the one
  4      who's going to do all of the initial work to make sure
  5      that the quality issues have been addressed before
  6      providing it to the customer.
  7              That's not what we're talking about here.
  8              What we're talking about here says running through
  9      regression testing in parallel, together.
 10         Q.   Is it your assumption that TEG is the customer?
 11        A.    No.
 12         Q.   'Cause that's what you said.
 13              MR. DELANEY:     Objection; mischaracterizes the
 14         testimony.
 15      BY MR. ROTHMAN:
 16         Q.   What I understood you to say is that what's
 17      described in paragraph 33 is not something that a
 18      customer would do, and that indicates to me that from
 19      your point of view, TEG is a customer for this software.
 20        A.    No.

 21        Q.    Am I wrong?
 22        A.    I think you've misunderstood my testimony.
 23        Q.    Okay.    So if TEG -- you do not think TEG was a
 24      customer for the software?
 25        A.    No.     I would say, based on what I've seen in the

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  1      record, they were jointly developing and creating and
  2      testing the software.
  3              In this particular paragraph, we're talking about
  4      testing now.
  5        Q.    Okay, and when you say "jointly developing", the
  6      word development, okay, what is your definition of
  7      development or if -- or better, what is your definition
  8      of joint development?
  9        A.    So I would say, in a joint development project,
 10      parties typically share responsibilities for creating a
 11      software product for whoever their customers ultimately
 12      would be.
 13              That's going to include shared technical tasks
 14      typically, things like design, code construction,
 15      testing, implementation, sort of the key phases of the
 16      software development lifecycle, and I've set that all
 17      out in section, I think it's VII A of my report.
 18              Those are the kinds of typical activities where,
 19      when a vendor is doing a project, they're going to be
 20      executing these very technical steps of this process.
 21              When the parties are collaborating on those steps,
 22      that's indication that joint development is going on.
 23        Q.    Okay, but the definition of -- your definition of
 24      development, it sounds like, includes more activity than
 25      just the authoring of source code.

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  1        A.    Correct.
  2              I mean it's the same way in building a house.
  3              Building a house isn't just putting up girders and
  4      hanging drywall.
  5              There's steps that have to be done when you say to
  6      someone, I want you to build me a house; designing it,
  7      making sure it's safe to live in through testing it, as
  8      well as putting up those steps, and that's my point
  9      here.
 10              Software development is the same way.                  It's not
 11      just I write source code on a page.                   You have to design
 12      what you're going to write.            You have to write it.            You
 13      have to test it.       You have to make sure it's actually
 14      going to work.
 15              Those are all typical and necessary steps of what
 16      is called the software development lifecycle or a
 17      software development lifecycle.
 18              There's obviously different ways you can implement
 19      those processes and all of that's covered in section A
 20      of my report.
 21        Q.    Take a look at the definition of source code in
 22      Exhibit 2 at 3.3882.
 23        A.    I'm sorry.     3 --
 24        Q.    .882.
 25        A.    Okay.

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  1        Q.    It says, "computer instructions and data
  2      definitions expressed in a form suitable for input to an
  3      assembler, compiler, or other translator."
  4              Do you see that?
  5        A.    I    do.
  6        Q.    Okay.      With respect to the software that you
  7      reviewed on the review computer, did you find any source
  8      code, using that definition, authored by TEG?
  9        A.    Well, so, again, as I pointed out earlier, there
 10      is a distinction between individual lines of text and
 11      the designs being implemented by those lines of text.
 12              You can't just say, you know, oh, they                this
 13      person wrote the pen to the paper.
 14              If they're using designs jointly created or
 15      created by another party, that's where we get into the
 16      distinction of what's going on and the facts specific to
 17      this case.
 18        Q.    I understand that distinction.
 19              The question was a simple yes or no.
 20              MR. ROTHMAN:      Can you read back the question,
 21        Madam Reporter?
 22              THE COURT REPORTER:         Just a second, please.
 23                  (Thereupon, the question referred to was read back
 24        by the court reporter as above recorded.)
 25              THE WITNESS:      Yeah.     I mean I think my answer

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  1         is ultimately the same.
  2              I think inclusive in the way that question is
  3         asked is a conclusion that if somebody wrote this
  4         line of code, therefore, it is authored by that
  5        person.
  6              It is more complicated than that because there
  7         are the other steps of the software development
  8        process that lead to the conclusion of how those
  9         lines of code are being chosen to be read.
 10              That is where you get into the specific facts
 11        that we're looking at in this case with the
 12         similarities in the design that I've pointed out.
 13      BY MR. ROTHMAN:
 14        Q.    Okay.   The designs are similar; right?
 15        A.    Correct.
 16        Q.    Okay.   Is the source code for the software you
 17      reviewed on the review computer source code that was
 18      written as in the definition of source code, "expressed
 19      in a form suitable for input to an assembler, compiler
 20      or other translator", written by anyone at TEG?
 21        A.    Well, again, I think I've answered that as well.
 22              I think I have seen references in the record where
 23      there's testimony that things like pseudo code and
 24      whatnot were provided at various points to Max in the
 25      development of the Haptic Federal software.

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  1               I haven't gone further to try and look for those
  2      given the restraints of the review computer at this
  3      time.
  4               It doesn't mean that they're not there or there
  5      might be substantial similarities to things that are
  6      there.
  7               That's something I would have to check further
  8      for.     So I don't know that I can answer that at this
  9      moment without doing further review.
 10        Q.     Okay.   Turning to your item capital C beginning on
 11      page 18 at paragraph 42, --
 12        A.     All right.     Give me one moment to scroll.
 13               Okay.
 14        Q.     -- can you just summarize what your opinion is in
 15      this section?
 16        A.     Sure.
 17               So I understand that there are -- one of the
 18      things at issue is the source code having been made
 19      publicly available by -- that -- I should rephrase.
 20               I understand one thing at issue is that TEG made
 21      source code available for Haptic Federal software at
 22      some point in time.         You know, I forget the exact time
 23      frame, 2021, 2022,        '23, probably '23,           '24, I forget the
 24      exact date.
 25               You know, as that may pertain to potentially

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  1      issues of confidentiality, which I understand trade
  2      secrets are one thing that's at issue in this case, you
  3      know, what I'm pointing out in this opinion is that the
  4      functionality of the source code that composes the front
  5      end of the Haptic Federal software, you know, was being
  6      made available, or a portion thereof that are consistent
  7      with what's in the Alleo software were being made
  8      available publicly in the form of what is called a
  9      minified JavaScript file, and I get into detail in my
 10      report obviously about minification and how minification
 11      is fundamentally a technique that does not obfuscate the
 12      source code in a manner that changes its functionality
 13      and how it can be what is called beautified to create
 14      that        to create something that is easier to read and
 15      that will show the functionality in less compacted terms
 16      in a minified file, and that's sort of everything that's
 17      covered in section C in terms of how that code is being
 18      made available, what is actually listed in terms of, you
 19      know, the time period I found and all of that sort of
 20      detail.
 21        Q.    I understood you to be saying basically that what
 22      TEG did with respect to the allegations of making the
 23      source code maps available was the same thing as what
 24      Max does with respect to making minified JavaScript
 25      available online.

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  1        A.    That's not quite what I said.
  2        Q.    Okay.     So is what TEG did, which is making source
  3      code maps available online, the same as making minified
  4      JavaScript available online?
  5        A.    I would say there's overlap.
  6              Both approaches make the functionality of the
  7      software publicly available, or at least I guess in the
  8      context of this, where the code can be directly
  9      accessed, but when you have a JavaScript-based front
 10      end, the JavaScript files composing the front end have
 11      to be downloaded to the client's computer that's running
 12      it.    It's just a feature of how that's worked.             They are
 13      interpreted by the client's side of the computer in
 14      order to render the front end.
 15              So in order for those files to work, the logic
 16      that implements the actual functionality of the front
 17      end is included in what's downloaded.
 18              If those servers are publicly available, anyone
 19      who downloads those files will have the underlying
 20      functionality in the file they're downloading.               That's
 21      the point I'm trying to make.
 22        Q.    Okay.     JavaScript has to be downloaded if you need
 23      JavaScript in order to utilize the functionality, and so
 24      you are         by choosing to use JavaScript, you're going
 25      to make some information available to the end user;

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  1      correct?
  2        A.    To the end user, that is correct.
  3        Q.    Okay.     Is that the same as in terms of the
  4      functionality and information you make available to the
  5      end user when you make source code maps available?
  6        A.    In terms of functionality, it is.             Ultimately, the
  7      functionality is still the same.
  8        Q.    Okay, but in terms of other concerns such as
  9      information security or confidentiality?
 10        A.    What about -- I'm sorry.            Could you clarify the
 11      question?
 12        Q.    Yeah.
 13              Is it the same in your view, in terms of
 14      confidentiality or information security concerns, making
 15      minified JavaScript available versus making source code
 16      maps available?
 17        A.    Sure, absolutely.
 18        Q.    Okay.     So the implication -- withdrawn.
 19                  (Thereupon, the below-referred to document
 20        was premarked as Plaintiff's Exhibit Number 6 for
 21         Identification.)
 22      BY MR. ROTHMAN:
 23        Q.    Did you review the Exhibit Number 6, the
 24      Declaration of Robert Simon and the memo that's attached
 25      to it, at any point before rendering your opinion?

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  1        A.    Yes, I did.
  2        Q.    Okay.     So did you ever attempt to go through the
  3      exercise that Mr. Simon goes through in the memo
  4      attached to his declaration?
  5        A.    Let me just take a look through the memo.
  6              I mean certainly in terms of downloading all of
  7      the website resources, I think I point out in my report
  8      that the approach I used to download the minified files
  9      is just to document that these things are available,
 10      used this "Save All Resources" Chrome plug-in that he
 11      used as well.
 12        Q.    Okay, but my question was, did you go through this
 13      exercise that he sets forth in his memo; did you
 14      actually do this?
 15        A.    Well, my point is there are multiple exercises in
 16      his memo.
 17        Q.    I know.
 18              Again, my question is, did you do what -- step by
 19      step what Mr. Simon documents in his memo?
 20        A.    I mean are you talking about every piece of this
 21      memo; is that what you're asking?
 22        Q.    So in other words, beginning on the memo, if
 23      you're looking at page 4 of the memo, it says, "Below
 24      please find step-by-step directions for how to find,
 25      review, and capture the Max Minds applications and

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  1      associated source code as being served publicly on the
  2      internet by TEG", and then there are steps under to
  3      identify source code map files and then to view source
  4      code.
  5              Do you see that?
  6        A.    I   do.
  7        Q.    Okay.     Did you follow these steps in an effort to
  8      recreate what Mr. Simon lays out here?
  9        A.    I don't remember if I did this for TEG or if I did
 10      this at one point for Max Minds.              I do seem to recall
 11      investigating this issue, but this was right at the
 12      outset of work on this matter.             I don't recall the
 13      specifics of which set of code I did this on.
 14        Q.    So you did follow these directions?
 15        A.    I mean I seem to recall certainly reviewing this
 16      and looking into it.       I just -- I don't recall the
 17      specifics as I sit here right now.
 18        Q.    If you did do it, did you keep notes or records of
 19      what you did?
 20        A.    I don't think so.       I think when we were testing
 21      this out, we were sort of on a time constraint of some
 22      sort.
 23              I don't recall saving anything from just sort of
 24      initial investigation right at the outset of the work in
 25      this.

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  1        Q.    Were you at all involved in the process of
  2      recommending or advising TEG what to do about the issue
  3      that's raised in Mr. Simon's declaration?
  4        A.    That's all discussions with counsel potentially?
  5        Q.    Yeah, it would, absolutely.
  6              MR. DELANEY:    Well, if it involves discussions
  7         of counsel about advice on how to handle an action
  8         rather than opposed to an expert opinion, we may
  9        have to claim privilege on that.
 10              So --
 11              MR. ROTHMAN:    Okay.
 12              MR. DELANEY:    -- I would instruct him not to
 13         answer,   just to the extent
 14              MR. ROTHMAN:    So
 15              MR. DELANEY:         that he knows.
 16              MR. ROTHMAN:    So you're     --   okay.    So you're
 17         invoking work product privilege as to any advice he
 18        may have given to TEG through counsel?
 19              MR. DELANEY:    If that's what you seem to be
 20         asking about and he has identified that as an issue
 21         in which he has -- which would involve him providing
 22         advice, and sitting here right now, I don't know the
 23        parameters of that, but based upon your question and
 24        his reaction, I think we'll have to assert privilege
 25         and work product doctrine at this point for that

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  1         line of inquiry.
  2              MR. ROTHMAN:      Okay.
  3                  (Thereupon, the below-referred to document
  4        was premarked as Plaintiff's Exhibit Number 15 for
  5         Identification.)
  6      BY MR. ROTHMAN:
  7        Q.    So with respect to the source code map issue, take
  8      a look at Exhibit 15.
  9              I just want to ask you a few questions about
 10      Exhibit 15.
 11        A.    Okay.
 12        Q.    Have you seen in the course of your review -- I
 13      didn't see these.
 14              These are a collection of "Azure DevOps" messages
 15      for the Azure source code management system?
 16              I didn't see these listed in your items reviewed
 17      in Attachment 2.
 18        A.    I'm sorry.     What was the question there?
 19        Q.    The question is, did you see any documents that
 20      look like what's in Exhibit 15 in the course of your
 21      review?
 22        A.    I would say I've seen them because they were, I
 23      think, attached to the most recent motions.                I don't
 24      know -- I don't recall seeing them prior to that, but
 25      I'd have to check my records.

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  1        Q.    Okay.   Well, I don't know that they were, but
  2      anyway, looking at the first page, do you know anything
  3      about the first page where it says, "Add licensing info
  4      to codebases"; do you have any knowledge of what was
  5      being done here?
  6        A.    Not without additional context.
  7        Q.    Okay.   In the course of your review, did you --
  8      were you asked to look at anything concerning licensing
  9      issues with the software?
 10        A.    Sure.
 11        Q.    Okay, and what did you find?
 12        A.    So I think that is covered.            I'll just point it to
 13      you in my report.
 14              I think this is covered in general in paragraph
 15      40.
 16              There is documents in the record that I reviewed,
 17      for example, what's cited at footnote 29, regarding
 18      licensing issues that the parties were trying to address
 19      during their development, you know, and the fact that
 20      there was a license expired banner in software that was
 21      being displayed on the Haptic Federal software that was
 22      causing a problem for the government customers who were
 23      trying to use the software, and I know I've seen e-mails
 24      such as the one that's cited there from around this time
 25      period that get into that issue, and ultimately, that

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  1      was something Max removed in the source code in 2023 as
  2      pointed out at the end of paragraph 40 and cited in
  3      footnote 30.
  4        Q.    Right, but the time frame that you're talking
  5      about in paragraph 40 is different from this message,
  6      which is from 5/9/2024.
  7              Do you know anything about licensing issues around
  8      May 9th, 2024?
  9        A.    That doesn't ring any bells as I'm sitting here.
 10      I don't know that I've included anything of that for the
 11      opinions I've offered for this report.
 12        Q.    All right.     You know that there's an allegation in
 13      this case about TEG removing the licensing logic in
 14      Max's software; right?
 15        A.    I think that's consistent with what I've seen in
 16      various documents.
 17        Q.    Okay.   Did you see any -- where in looking at the
 18      code, did you see any indication that TEG removed
 19      licensing logic in the software --
 20        A.    I don't think I've offered
 21        Q.    -- and then changed it?
 22        A.    I don't think I've offered any opinions on that in
 23      the analysis,      just what's in the report.
 24        Q.    Okay, but did you see it?
 25        A.    I mean as I pointed out, I think, in my report,

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  1      and I'll show you or I'll point you to the exact
  2      section --
  3        Q.     No.     I -- is it the one we were just talking
  4      about?
  5        A.     No.
  6               One moment.      I'll give you the specifics.
  7               As I pointed out, the comparison I did was between
  8      TEG's earlier software from 2017/2018 --
  9         Q.    Oh, okay.
 10        A.     -- to Max's software from -- well, and I'm sorry,
 11      I shouldn't say Max's, I should say the software that
 12      was produced by Max, on the review computers in mid 2019
 13      and fall of 2023.
 14         Q.    Okay.    Take a look at the fourth page of this
 15      exhibit, please.        It's --
 16        A.     I'm sorry.     Of which exhibit?
 17         Q.    The one we were talking about, 15.
 18        A.     Okay.
 19         Q.    5/10/2024, the "Subject: User Story 233 - Strip
 20      Code on build from front-end".
 21        A.     Okay.
 22        Q.     So have you seen this before?
 23        A.     And, I'm sorry, this referring specifically to?
 24        Q.     This document.
 25        A.     I mean, again, I think I've seen it in preparing

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  1      for deposition in review of the materials provided to me
  2      by --
  3        Q.    Take a look for a second at the description at the
  4      bottom of that page.
  5        A.    Okay.
  6        Q.    Do you understand this description here on this
  7      document, what it's talking about?
  8              MR. DELANEY:     Objection.
  9              You can answer if you can.
 10              THE WITNESS:     I mean they're talking about
 11         creating a script, but that typically refers to
 12         creating source code.
 13              You know, I really only have what's here for
 14         context.      I don't have all their information.           I
 15        don't even know if this is the full work item.
 16              There's obviously a link in this e-mail that
 17         says "View work item".
 18              So I'm not sure if there's more information
 19        beyond what's here and on the next page, but I mean
 20         I only really can tell you what it says in this
 21        Description section.
 22      BY MR. ROTHMAN:
 23        Q.    Right.
 24              My question is, from reading this Description
 25      section, does it -- is it your view that what's being

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  1      described here, to remove or strip code from the source
  2      maps, to remove source from the source's content keys,
  3      from the map files, is that in your view the same as the
  4      issue that you raised with use of minified JavaScript;
  5      in other words, that minified JavaScript being shown on
  6      the front end would create the same security concerns
  7      that the source map files being on front end create?
  8        A.    I'm not entirely sure I understand the question.
  9              I would say that at the end of the day, the
 10      functionality that's in the source map is the same as
 11      what's being included in minified JavaScript files.
 12        Q.    The functionality is the same; did I understand
 13      that correctly?
 14        A.    Correct.
 15        Q.    The functionality that's shown in the source code
 16      map is the same as the minified JavaScript; correct?
 17        A.    I'd have to look at the source map files.
 18              Certainly the application is going to have to
 19      have -- whatever JavaScript's functionality is present
 20      in those files in some manner is going to have to be
 21      transferred to the client computer in order to run.
 22        Q.    You wouldn't need to transfer the source code map
 23      or the source code files to the client computer, would
 24      you?
 25        A.    I'd have to look at the front end of the code to

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  1      answer that.
  2        Q.    Okay.   Is your opinion in your report an opinion
  3      about whether exposing source code map files creates a
  4      security issue or a confidentiality issue, is that your
  5      opinion, or is it just about the minified JavaScript?
  6        A.    Let me just refer back to my report to make sure
  7      it is accurately stated.
  8              I would say that -- let me just take a look to be
  9      specific.
 10              I would say my opinion is specific really to the
 11      minification
 12        Q.    Okay.
 13        A.    -- and to its use of the -- potential uses of
 14      technique to the extent that might be claimed with
 15      respect to confidential information.
 16              That's what's in 45 and 46, and as I point out in
 17      footnotes, for example, in footnote 34, the use of the
 18      security through obscurity type approach where it's just
 19      not clear what you're looking at is not enough and is
 20      recognized in the industry as not enough to protect
 21      confidential information.         More stringent measures are
 22      typically required.
 23        Q.    Okay.   It's not your opinion, I want to make sure,
 24      you're not rendering an opinion about whether exposing
 25      minified JavaScript and exposing source code map

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  1      information, that those two things both expose the same
  2      file types, the same file names or the same directory
  3      structures, is it?
  4        A.    I don't know that I've gone that far.
  5              I think the point I've raised here is simply the
  6      functionality with that.          I think that is what I have
  7      said although I'd have to check for the citation on
  8      that.
  9        Q.    Okay.     Going back to you mentioned pseudo code
 10      earlier.
 11              If you look at Exhibit 2, at 3.3228 --
 12        A.    I'm sorry.     Give me that one more time, the
 13      number.
 14        Q.    3.3228.
 15        A.    Okay.
 16        Q.    Okay.     Is the definition there consistent with how
 17      you use the term pseudo code in your report or in your
 18      testimony?
 19        A.    Let me just review it to be sure.
 20              Yeah, I think that's general enough to adequately
 21      summarize my understanding of how that term is typically
 22      used.
 23        Q.    Okay, and there's an example given after the
 24      definition that says, "IF the data arrives faster than
 25      expected, THEN reject every third input ELSE process all

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  1      data received ENDIF."
  2              Do you see that?
  3        A.    I do, and just for clarity in the record, the
  4      words "IF", "THEN", "ELSE" and "ENDIF" are all in all
  5      caps.
  6        Q.    So when you're talking about pseudo code, you're
  7      talking about somebody at TEG giving a statement like
  8      that in the example to Max?
  9        A.    So it could be like that.          That is one example.
 10        Q.    Okay.
 11        A.    This is more consistent with definitions 2 and 3
 12      in this --
 13        Q.    Okay.
 14        A.    -- particular verbiage, but let me finish my
 15      response.
 16        Q.    Sorry.
 17        A.    In the first definition, the pseudo code can be
 18      and in many cases is more programming language specific.
 19              It might not be totally grammatically correct in
 20      the context of the particular programming language, but
 21      it might be written in something that's much closer
 22      than, you know, "IF ELSE" with written description in
 23      English of what should be going on.
 24              That would be sort of a -- you know, the example
 25      that's listed here is more sort of a high level

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  1      structural element of a particular algorithm that you
  2      might have, but you can have pseudo code that is more
  3      detailed even if it's not specific.                  It depends on the
  4      nature of pseudo code.        By its very nature, it's pretty
  5      general as to how you can use that term.
  6        Q.    Okay.   In any event though, it would be necessary
  7      for someone who was using the pseudo code to take the
  8      point being made in the pseudo code and turn it into
  9      source code in the correct language in the application
 10      for it to work; it couldn't just be copied and pasted
 11      into the code?
 12        A.    Not literally, but you could still use the sort of
 13      design of that particular function and that could be the
 14      thing that's in the message, and it could be that there
 15      might be specific lines that could be verbatim the same
 16      with the missing bit being whatever hasn't been
 17      developed that you're saying in pseudo code, well, this
 18      is what would have to be further fleshed out.
 19              It varies based on the pseudo code you're using.
 20      You can do it at any level of generality.
 21        Q.    Do you know the difference between JavaScript and
 22      Typescript?
 23        A.    I would say so.
 24        Q.    Okay.   What's the difference?
 25        A.    So JavaScript is typically less structured in

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  1      terms of the variable definitions and the particular
  2      types of variable using.
  3              Typescript provides sort of a more stringent set
  4      of definitions than you're using when you're working
  5      with JavaScript code.
  6              So, for example, in JavaScript, you can create a
  7      variable just saying it's a variable and the specific
  8      type could vary based on the data that's stored inside
  9      that.
 10              Typescript, if I recall correctly, refines that to
 11      say you have to be more specific as to what type of data
 12      is in that variable so that somebody using the program
 13      can look at it and say, okay, this is an integer or a
 14      string or some other particular type of data.
 15        Q.    Okay.   Do you know what an angular template is?
 16        A.    Sure.   I think so.
 17        Q.    Go ahead.    Tell me what you -- what it is.
 18        A.    So angular is a JavaScript framework for creating
 19      front end applications.
 20              A template in this context is typically a set of
 21      screen display elements that are going to provide some
 22      redefined structure.
 23              In this context, I would say an angular template
 24      is a -- I don't -- I hate to make this sort of circular,
 25      but it's a template for a JavaScript front end that is

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  1      built using the angular frame.
  2        Q.     Okay.   If we go back to the issue of the exposure
  3      of the source code maps, you said Typescript is going to
  4      be more specific than JavaScript; right?
  5        A.     I think that's correct, yes.
  6        Q.     Okay.   So if the information in Typescript files
  7      was specific in a way that would create security
  8      concerns for the exposure of those Typescript files, you
  9      with me so far?
 10        A.     I'm not sure I am, but why don't you finish the
 11      question and then I'll ask for clarification.
 12        Q.     Okay.   Would -- in your view, would the security
 13      concerns be the same for the exposure of JavaScript
 14      files?
 15        A.     I think the answer, if I understand your
 16      question -- let me make sure I understand the question.
 17               Is the question, when I'm providing minified
 18      JavaScript, are the security concerns the same as if I'm
 19      providing minified Typescript?
 20        Q.     Not minified Typescript but actually exposing the
 21      Typescript files themselves, the Typescript files which
 22      are used using the angular templates to create the
 23      JavaScript.
 24        A.     I think the answer is yes in that the
 25      functionality still has to be expressed one way or the

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  1      other.
  2               You're getting functionality in both that's going
  3      to describe the operation of the software, which could
  4      potentially be investigated and attacked like from a
  5      security perspective.      That's what we're talking about
  6      here.
  7               There is functionality is what you're going to
  8      have that's ultimately going to be the primary attack
  9      factor.
 10               You're going to say, how does this thing work so
 11      that somebody could then say, well, where do I pull it
 12      apart to make it work the way I want it to, to
 13      compromise whatever that would be.
 14               I think the answer is yes because the
 15      functionality is the thing that's ultimately going to
 16      matter.
 17        Q.     So in both cases, you're saying cases exposing
 18      minified JavaScript versus the case of exposing the
 19      original Typescript files, the security concerns as to
 20      functionality are identical in your view?
 21        A.     I think in that the functionality is being
 22      exposed, yeah, that's what somebody's going to have to
 23      look at.     They're going to have to look at this code and
 24      say, how does it work, in order to try and determine if
 25      there is an attack factor.

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  1        Q.    Okay.   So a web browser, which is going to be what
  2      is used to view or run the code, can a web browser
  3      natively process original Typescript files or angular
  4      templates?
  5        A.    I'd have to look into that.             Offhand, I'm not
  6      totally sure.       That gets into a Typescript building
  7      question that I'd have to go and check.
  8        Q.    Okay.   Let's assume for a second that a web
  9      browser cannot process and run Typescript files or
 10      angular templates just for the sake of argument.
 11              So it couldn't use the original Typescript or
 12      angular templates to render a web page or create an
 13      application.       Okay.   Let's assume that for the purposes
 14      of this.
 15        A.    Okay.
 16        Q.    All right.
 17              Would it then still be your view that exposing
 18      minified JavaScript is the same in terms of security
 19      concerns as exposing the original Typescript or angular
 20      templates?
 21        A.    I mean if ultimately you're going to use the
 22      angular or Typescript templates -- excuse me                  the
 23      Typescript or the angular templates in order to generate
 24      JavaScript code, either way, what you're going to need
 25      to have in some form is JavaScript that can be run

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  1      natively on a web browser.
  2              That's ultimately what's going to be publicly
  3      available to somebody who's going to need -- if they're
  4      going to try and attack the code, that's what they're
  5      going to have -- work -- ultimately, if you're upstream
  6      of that and then somebody can generate the code from
  7      that versus having the JavaScript code, you still have
  8      the same problem.
  9              If functionality is being exposed, you're creating
 10      a potential attack.
 11        Q.    So I understand that statement as being indication
 12      that you could take a minified JavaScript file and
 13      reverse engineer or de-compile it to get back into the
 14      underlying logic that was in the Typescript or in the
 15      angular templates.
 16              Do I -- did I understand that correctly?
 17        A.    No.     I don't -- the way you phrased that, I don't
 18      think that's quite correct.
 19        Q.    Okay.    So the Typescript files, they have things
 20      that are not in the minified JavaScript, right, like
 21      they have metadata, annotations, comments and other
 22      logic that a developer could read that doesn't exist in
 23      minified JavaScript; right?
 24        A.    I think as you phrase that, the answer is still I
 25      don't think that's right.

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  1        Q.     No?
  2               You think that the Typescript file wouldn't
  3      contain things that would also not be contained in
  4      JavaScript or vice versa?
  5        A.     No.     I mean I -- that's not what I said.
  6               I think the way you phrased the previous question,
  7      I think there was a problem with how you phrased it that
  8      made it incorrect.
  9        Q.     Okay.    Well, but my point is, the Typescript
 10      files, they're going to have information in it that
 11      wouldn't end up in the minified JavaScript files;
 12      correct?
 13        A.     That is possible, but it's not a -- you said
 14      "going to".        I don't think that's strictly speaking
 15      right.
 16        Q.     Assuming there was information in the Typescript
 17      files in the nature of metadata, annotations, comments,
 18      things like that, assuming there was that stuff in
 19      there, right, that would not necessarily end up in the
 20      minified JavaScript; right?
 21        A.     That I believe I agree with --
 22        Q.     Okay.
 23        A.     -- to an extent.
 24               I mean I will clarify at least to say that I would
 25      have to check and make sure there are no elements of

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  1      what you just said that would be structurally required
  2      elements to the JavaScript program that would need to be
  3      present as part of the translated minified code.
  4        Q.    Okay, but if my statement is correct then and if
  5      those additional things, the metadata, the annotations,
  6      the comments, if those things were of a confidential
  7      nature, then it would be different to expose the
  8      Typescript files than it would be to just expose
  9      minified JavaScript?
 10        A.    I    confidential, I mean I guess I'm lacking some
 11      context in terms of how you sort of set up the
 12      hypothetical here.
 13        Q.    Understood.
 14              The context would have been, I think, in the files
 15      that were exposed that are -- that was discussed in
 16      Mr. Simon's declaration and the attachment, but I can't
 17      ask you about those 'cause counsel has raised a
 18      privilege objection.
 19              MR. ROTHMAN:    So I have no further questions.
 20              MR. DELANEY:    All right.        I just want to
 21         clarify the record on one thing.
 22                             CROSS-EXAMINATION
 23      BY MR. DELANEY:
 24        Q.    Thank you, Mr. Ferrara, for your testimony.
 25              You had discussed at several points that there

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  1      were constraints on your review of the source code and I
  2      don't know if you and Mr. Rothman ever stated what those
  3      were.
  4              So my question to you would be, what were the
  5      constraints imposed upon your review of the Haptic
  6      Federal source code as we're calling it?
  7        A.    So I would say there are two primary constraints.
  8              First, not all of the source code that I -- based
  9      on documents provided by Mr. Simon necessarily may
 10      compose the Haptic Federal source code have been
 11      produced.
 12              There are a number of repositories that were
 13      identified in one of his exhibits, one of his
 14      declarations, that list something like, I think it's 91
 15      source code repositories.
 16              There is -- there are a number of repositories on
 17      that list that reference haptic in some form or another.
 18              Of that list, only four repositories have been
 19      produced.
 20              Again, these are the ones listed in Attachment 2
 21      to my report.
 22              I obviously don't know what I don't know about
 23      those particular repositories, which, you know, I know
 24      we have requested information about even just basic
 25      metadata such as get logs that would provide some

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  1      clarity into what is in those repositories, and that is
  2      one of the two constraints.
  3              The other constraint is that the code is produced
  4      in a review computer in the first place that's isolated
  5      from any other code produced and is effectively air
  6      gapped, for lack of a better term, meaning you can't
  7      connect it to any other systems, you can't put anything
  8      else on there.
  9              Now, obviously we've prearranged for necessary
 10      tools to be put on there, but, you know, when you're
 11      working on a case where you need to compare source code
 12      in particular ways, the typical approach would be to
 13      have both sets of source code on a computer that could
 14      be then reviewed so that you can do side by side
 15      comparisons so that you can search for line by line
 16      similarities.
 17              That's not possible because this thing is on an
 18      air gap computer system; so those both constraints on my
 19      analysis in terms of what I could do.
 20              I think also one other thing, thinking about it,
 21      that I pointed out in one of my declarations, if I had
 22      running -- I'm sorry -- if I had the repositories in the
 23      system that I could potentially control that was not air
 24      gapped, I could have stood up the software.
 25              We could have actually done things like functional

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  1      testing to show specific elements of how the code are
  2      used, what conditions they're used in, things like that.
  3              That's not really possible in an air gap system.
  4      It's not practical to be able to stand up a development
  5      environment that typically would be connected to the
  6      internet to be able to then build source code that's
  7      being produced in the federal repositories.
  8              It's just I've done that on other cases, it
  9      doesn't work well, and those are all things that
 10      provided bounds on what I could fully explore in this
 11      particular matter for purposes of this report.
 12        Q.    These constraints that you mentioned, they weren't
 13      imposed actually by my client, TEG, were they?
 14        A.    No, definitely not.
 15              MR. DELANEY:    All right.        I have no further
 16        questions.
 17              MR. ROTHMAN:    Thank you for your time,
 18        Mr. Ferrara.
 19              THE WITNESS:    Thank you.
 20              MR. DELANEY:    All right.        Have a good day,
 21         Joel.
 22              MR. ROTHMAN:    Yes.
 23              I assume he's going to read.
 24              MR. DELANEY:    Yeah, we'll read.
 25              MR. ROTHMAN:    And could I get also a phone

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  1         number for you, Ms. Goldman?
  2              THE COURT REPORER:        It's (305) --
  3              MR. ROTHMAN:      Uh-huh.
  4              THE COURT REPORTER:              439-1509.
  5              MR. ROTHMAN:      1509.
  6              Okay.     We're going to let you know about the
  7        transcript and how quickly we need it, but I don't
  8        have an answer for you right now.
  9              THE COURT REPORTER:         Okay, and do you want a
 10         copy, Mr. Delaney?
 11              MR. DELANEY:      Yes.
 12              THE COURT REPORTER:         Okay.      So it's ordered,
 13        but you're --
 14              MR. ROTHMAN:      Right now, for right now, it's a
 15         regular order, but -- you know, regular delivery,
 16        but I need a few minutes to think about how quickly
 17         I need it and get back to you.
 18              THE COURT REPORTER:         Okay.      No problem.
 19              MR. ROTHMAN:      Okay?
 20              THE COURT REPORTER:         Yes.
 21              MR. ROTHMAN:      Thanks very much.
 22              THE COURT REPORTER:         Thank you.
 23              MR. DELANEY:      All right.        Thank you, everybody.
 24                  (Thereupon, the video conference deposition was
 25         concluded at 12:29 p.m.)

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  1
  2
  3
  4
  5                      CERTIFICATE OF OATH OF WITNESS
  6
         STATE OF FLORIDA
  7                                       SS:
         COUNTY OF BROWARD
  8
  9              I, SANDRA GOLDMAN FREDERICKS, Court Reporter
 10      and Notary Public in and for the State of Florida at
 11      Large, certify that the witness, NICK FERRARA, remotely
 12      appeared before me on February 19, 2025, and was duly
 13      sworn by me.
 14                  WITNESS my hand and official seal this 20th
 15      day of February, 2025.
 16
 17
 18
 19
                               SANDRA GOLDMAN FREDERICKS, FPR,
 20                            Court Reporter and Notary Public,
                               State of Florida at Large.
 21
 22
         Notary #HH076143
 23
         My commission expires:        4/9/25
 24
 25

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  1          REPORTER'S VIDEO CONFERENCE DEPOSITION CERTIFICATE
  2
  3                  I, SANDRA GOLDMAN FREDERICKS, Florida
  4      Professional Reporter, certify that I was authorized to
  5      and did stenographically report the video conference
  6      deposition of NICK FERRARA, the witness herein; that a
  7      review of the transcript was requested; that the
  8      foregoing pages numbered from 4 to 95 inclusive is a
  9      true and complete record of my stenographic notes of the
 10      video conference deposition by said witness; and that
 11      this computer-assisted transcript was prepared under my
 12      supervision.
 13                  I further certify that I am not a relative,
 14      employee, attorney or counsel of any of the parties,
 15      nor am I a relative or employee of any of the
 16      parties' attorney or counsel connected with the
 17      action.
 18                  DATED this 20th day of February, 2025.
 19
 20
 21
 22
                              SANDRA GOLDMAN FREDERICKS,
 23                           Florida Professional Reporter
 24
 25

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  1      Raighne C. Delaney, Esquire
         rdelaney@beankinney.com
  2
                                                      February 20, 2025
  3
  4      RE: Max Minds vs. Triangle Enterprise Group, et al.
              February 19, 2025 - Nick Ferrara - 7182553
  5
  6          The above-referenced transcript is available for
  7      review.
  8          The witness should read the testimony to verify its
  9      accuracy.   If there are any changes, the witness should
 10      note those with the reason on the attached Errata Sheet.
 11          The witness should, please, date and sign the Errata
 12      Sheet and email to the deposing attorney as well as to
 13      Veritext at Transcripts-fl@veritext.com and copies will
 14      be emailed to all ordering parties.
 15          It is suggested that the completed errata be returned
 16      30 days from receipt of testimony, as considered
 17      reasonable under Federal rules*, however, there is no
 18      Florida statute to this regard.
 19          If the witness fails to do so, the transcript may be
 20      used as if signed.
 21                                     Yours,
 22                                    Veritext Legal Solutions
 23      *Federal Civil Procedure Rule 30(e)/Florida Civil
 24      Procedure Rule 1.310(e)
 25

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 2
 3                     E R R A T A   S H E E T
 4
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 5
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 6      PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ __

 7      REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 8
        REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 9      PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

10      REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ __
11
        REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
12      PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

13      REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
14
        REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
15      PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

16      REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ __
17
        REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
18      PAGE ___ LINE ___ CHANGE _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

19      REASON_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
20
21
        Under penalties of perjury, I declare that I have read
22      the foregoing document and that the facts stated in it
        are true.
23
24
25
        NICK FERRARA                                  DATE

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                     Federal Rules of Civil Procedure

                                     Rule 30



        (e)   Review By the Witness;      Changes.

        (1)   Review; Statement of Changes. On request by the

        deponent or a party before the deposition is

        completed, the deponent must be allowed 30 days

        after being notified by the officer that the

        transcript or recording is available in which:

        (A)   to review the transcript or recording;           and

        (B)   if there are changes in form or substance, to

        sign a statement listing the changes and the

        reasons for making them.

        (2)   Changes Indicated in the Officer's Certificate.

        The officer must note in the certificate prescribed

        by Rule 30 (f) (1) whether a review was requested

        and, if so, must attach any changes the deponent

        makes during the 30-day period.




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        THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

        2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

        OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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